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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA ex rel. BRUTUS
TRADING, LLC,
                                                                       18 Civ.11117 (PAE)
                                       Plaintiffs,
                        -v-                                                   ORDER

 STANDARD CHARTERED BANK, STANDARD
 CHARTERED PLC, and STANDARD CHARTERED
 TRADE SERVICES CORPORATION,

                                       Defendants.


PAUL A. ENGELMAYER, District Judge:

       On October 25, 2024, the Court received letters from Jewish Insider and WWBT 12 On

Your Side in support of and requesting to join The Times's motion to unseal Exhibit K. See Dkt.

144. The Court respectfully directs the Clerk of the Court to publicly file these letters on the

docket of this case.



SO ORDERED.


                                                             Paul A. Engelmayer
                                                             United States District Judge


Dated: October 28, 2024
       New York, New York




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